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                                                        October 30, 2021

VIA ELECTRONIC FILING
Hon. Kenneth M. Karas, U.S.D.J.
Southern District of New York
The Hon. Charles L. Brieant Jr. Federal Building
300 Quarropas Street
White Plains, NY 10601-4150

       Re:      Elavon, Inc. v. Northeast Advance Techs., Inc., et al.
                Civil Action No. 7:15-cv-7985-KMK-PED

Dear Judge Karas:

        My firm represents plaintiff Elavon, Inc. ("Elavon") in the above-referenced action. I
write to request the Court's leave to extend the deadline for Elavon to respond to the Objections
of non-party TransMedia Payment Services, Ltd. ("TransMedia") to the Order of the Honorable
Paul E. Davison, U.S.M.J. (ECF No. 473) (the "Objections"). TransMedia's counsel has kindly
consented to this request.

        The present deadline to respond to the Objections is November 4, 2021. The reason for
the request is that I have several motions due this coming week, as well as a party deposition in
this action on November 4, 2021. Accordingly, I respectfully request an extension of one week,
to November 11, 2021, for Elavon to submit its response. This is the first request for an
extension of time.

       My client and I thank the Court for its consideration of this matter.

   Granted.
                                                        Respectfully submitted,

                                                        Isl Daniel Ginzburg
  11/1/21                                               Daniel Ginzburg


Cc:    All Counsel of Record (via ECF)




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